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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                        PIKEVILLE

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )
            Plaintiff,                            )      No. 7:12-CR-9-ART-HAI-1
                                                  )
 v.                                               ) REPORT AND RECOMMENDATION OF
                                                  )  DENIAL OF MOTION TO RELEASE
 DENNIS VARNEY,                                   )            DEFENDANT
                                                  )
            Defendant.                            )
                                                  )

                                        *** *** *** ***

           The Court considers a post-plea motion to release Defendant. See D.E. 265. The Motion

was originally made prior to Defendant’s rearraignment on May 16, 2013 (D.E. 237), but was

denied without prejudice as untimely. D.E. 242. The Motion was then renewed orally after the

Court accepted Defendant’s guilty plea. D.E. 265. The United States opposes release. As

described during Defendant’s rearraignment, having fully considered the Motion, the

undersigned recommends that it be DENIED by Judge Thapar.

      I.      BACKGROUND

           On May 16, 2013, per a referral from the presiding District Judge and after obtaining

Defendant’s consent to rearraignment before the undersigned, Defendant knowingly, voluntarily,

and intelligently pled guilty to conspiracy to distribute oxycodone, a Schedule II controlled

substance, in violation of 21 U.S.C. §§ 841(a)(1) and 846. D.E. 265. The undersigned accepted

that guilty plea and adjudged Defendant guilty by way of a written Order Accepting Guilty Plea.

D.E. 266. Defendant was fully informed of his right to seek de novo review within fourteen days

both during his rearraignment proceeding and in the Order Accepting Guilty Plea. Notably,
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Defendant entered into a binding plea agreement pursuant to Rule 11(c)(1)(C) of the Federal

Rules of Criminal Procedure contemplating a sentence of 65 months of imprisonment to be

followed by 6 years of supervised release. D.E. 254.

         Thus, because the offense of conviction carries a maximum term of imprisonment of

twenty years pursuant to 21 U.S.C. § 841(b)(1)(C), Defendant was found guilty of an offense

described in 18 U.S.C. § 3142(f)(1)(C). In turn, following his guilty plea, the parties agreed that

18 U.S.C. § 3143(a)(2) requires detention pending sentencing. This was required by the absence

of two alternative prerequisites to possible release. First, having pled guilty, there was no

likelihood (much less a substantial one) that a motion for acquittal or new trial would be granted

pursuant to § 3143(a)(2)(A)(i). Second, the stipulated sentence contemplating 65 months of

imprisonment obviously meant the Government was not able to indicate a recommendation that

no sentence of imprisonment be imposed pursuant to § 3143(a)(2)(A)(ii). Because neither of

those circumstances existed, the Court was precluded from engaging in an analysis of the

evidence as to likelihood of flight or whether Defendant poses a danger under § 3143(a)(2)(B).

Post-plea detention was therefore mandatory by the plain language of the statute. Immediately

following that determination, the motion for release pursuant to 18 U.S.C. § 3145(c) was

renewed.

   II.      ANALYSIS

         As an alternative to mandatory detention under 18 U.S.C. § 3143(a)(2), Defendant seeks

release pursuant to 18 U.S.C. § 3145(c), which provides:

                (c) Appeal from a release or detention order.--An appeal from a
                release or detention order, or from a decision denying revocation
                or amendment of such an order, is governed by the provisions of
                section 1291 of title 28 and section 3731 of this title. The appeal
                shall be determined promptly. A person subject to detention
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                  pursuant to section 3143(a)(2) or (b)(2), and who meets the
                  conditions of release set forth in section 3143(a)(1) or (b)(1), may
                  be ordered released, under appropriate conditions, by the judicial
                  officer,1 if it is clearly shown that there are exceptional reasons
                  why such person’s detention would not be appropriate.


18 U.S.C. § 3145(c). The Sixth Circuit has held that district courts have the authority pursuant to

this provision to consider and determine whether “exceptional reasons” exist to support release

pending sentencing. United States v. Christman, 596 F.3d 870 (6th Cir. 2010). In turn, given

that this subsection governs “appeals” from a detention order, Christman has been interpreted as

creating “a somewhat unusual three-step process.” United States v. Christman, 712 F. Supp. 2d

651, 653 n.2 (E.D. Ky. 2010).

                  First, the district court will determine whether an exception to
                  mandatory detention under § 3143(a)(2) applies in the defendant’s
                  case. If not, then the defendant will “appeal” that decision to the
                  district judge who just denied his release. See 18 U.S.C. § 3145(c)
                  (“Appeal from a release or detention order.”) The district judge
                  will then evaluate whether the conditions under § 3145(c) are
                  satisfied to justify release.


Id.    The first step was undertaken by the undersigned at the conclusion of Defendant’s

rearraignment. The pending Motion is Defendant’s appeal from that first step.2

         Following his arraignment on August 17, 2012, Defendant was released on conditions.

D.E. 44. No violation of those conditions has ever been alleged or reported. Thus, the record

reflects a lengthy period of compliance with conditions, and no evidence whatsoever to the

1
  In an unpublished decision, the Sixth Circuit has reasoned that the term “‘judicial officer’ . . . is used throughout
the bail statutes to refer to magistrate judges, district court judges, and judges of the courts of appeals.” United
States v. Cook, 42 F. App’x 803, 804 (6th Cir. 2002).
2
  Given that review of a detention order of a magistrate judge pursuant to 18 U.S.C. § 3145(b) is made by “the court
having original jurisdiction over the offense” and that Christman and § 3145(c) combine to allow for an appeal to
the Court of Appeals after district court review, the undersigned has elected to issue a report and recommendation
(instead of an order) concerning Defendant’s motion to ensure an avenue for prompt review by the presiding District
Judge.
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contrary. The record therefore supports a finding that clear and convincing evidence exists that

Defendant is not likely to flee or pose a danger to the safety of any other person or the

community, which is the standard of 18 U.S.C. § 3143(a)(1) that is incorporated into the §

3145(c) analysis.

       Thus, Defendant may be released “if it is clearly shown that there are exceptional reasons

why such person’s detention would not be appropriate.” 18 U.S.C. § 3145(c). The Motion seeks

release due to Defendant’s chronic medical conditions, including COPD, and his status as his

wife’s sole caretaker. Notably, Defendant’s wife, who is a co-defendant that also pled guilty on

May 16, 2013, was released on conditions following her plea. Defendant’s wife requires oxygen

24 hours a day. Medical records supporting the serious nature of both Defendant’s and his

wife’s medical conditions were filed under seal. D.E. 229, 240. The United States does not

contest the factual basis of the request for release, and both parties waived the introduction of

additional evidence.

       While § 3145(c) can fairly be criticized as being unclear in various ways, it plainly states

that “exceptional reasons” must be “clearly shown.” The exceptional reasons analysis “requires

a fact-intensive, case-by-case evaluation [and] the ordinary meaning of ‘exceptional’ suggests

that only reasons that are ‘out of the ordinary,’ ‘uncommon,’ or ‘rare’ would qualify.”

Christman, 712 F. Supp. 2d at 654 (internal citation omitted) (quoting United States v. Miller,

568 F. Supp. 2d 764, 774 (E.D. Ky 2008)). That fact-intensive, case-by-case analysis necessarily

has resulted in differing interpretations of what constitutes “exceptional reasons.”

       On remand in Christman, the Court indicated that “exceptional reasons review is limited

to determining whether remanding the defendant to custody until sentencing would be


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tantamount to subjecting the individual to unjust detention.” Id. at 655. “Unjust detention” was

employed in connection with the Court’s discussion of the risk of a defendant over-serving given

Congressional recognition that “taking the liberty of an individual is a grave consequence of state

power and that judges must be careful to ensure that a defendant does not spend one day in

prison more than justice requires under the law.” Id. The Motion presents no such risk of over-

serving because Defendant has agreed to an imprisonment term of 65 months and his sentencing

is scheduled for a mere 4 months away.

       Personal reasons, such as family hardship, have been held not to be exceptional. See

Miller, 568 F. Supp. 2d at 777 (citing Cook, 42 F. App’x at 804). Indeed, such hardship is a

common consequence of detention because being in custody necessarily means separation from

family. Few cases present defendants with no such family ties or obligations, meaning they are

not consequences that are so rare, uncommon, or out of the ordinary so as to constitute

exceptional reasons justifying release pursuant to § 3145(c). Additionally, given the stipulated

sentence of 65 months imprisonment, family separation is inevitable. The Court is sympathetic

to these consequences, especially the separation of Defendant and his wife given her medical

condition. However, her bond report shows she has two siblings and two children (one of whom

is a co-defendant) residing near her in the small community of Phyllis, Kentucky.

       “Courts have found that chronic medical conditions are not exceptional reasons justifying

release.” United States v. Parker, NO. 1:10-CR-28, 2011 WL 672309, *2 (E.D. Tenn. Feb 18,

2011). Although Defendant’s medical conditions are serious, they are not beyond the ability of

the United States Marshals Service (“USMS”) to manage. During the hearing, the USMS

confirmed that, although placement in a local detention facility would probably not adequately


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allow for the proper care of Defendant, other facilities are available that would allow for such

care.

          Finally, the Court considered the additional basis for release presented by defense

counsel under seal during the hearing. That basis is not exceptional, but is instead a routine

aspect of the administration of justice.

   III.      CONCLUSION

          Based upon the foregoing, the undersigned RECOMMENDS that the motion to release

Defendant be DENIED.

          The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights concerning this

recommendation, issued under subsection (B) of that statute. As defined by § 636(b)(1) and

Federal Rule of Criminal Procedure 59(b), within fourteen days after being served with a copy of

this recommended decision, any party may serve and file written objections to any or all portions

for de novo consideration by the District Court. The parties should consult the aforementioned

statute and rule for specific appeal rights and mechanics. Failure to object in accordance with

Rule 59(b) waives a party’s right to review.

          This the 20th day of May, 2013.




                                                  6
